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Book                  Policy Manual

Section               200 Pupils

Title                 Gender Expansive and Transgender Students

Code                  256

Status                Active

Adopted               January 17, 2019




Authority

Consistent with other District policies, the District is committed to fostering knowledge about and
respect for those of all races, ethnic groups, social classes, genders, religions, disabilities, sexual
orientations, and gender identities. The District prohibits all forms of harassment and bullying by
District students, and further prohibits reprisal or retaliation against individuals who report these
acts or who are targets, witnesses and/or bystanders in order to provide a healthy, safe, positive
learning environment for District students.[1][2][3][4]

It is the policy of the District to provide an equal opportunity for all students to achieve their
maximum potential through the programs offered in the schools regardless of, among other
factors, gender, gender identity and gender expression.[5]

The District strives to maintain a safe, positive learning environment for all students that is free
from discrimination and to ensure the safety, comfort and healthy development of all students
while maximizing the students’ social integration with other students and minimizing
stigmatization and isolation.﻿[1]

Therefore, the District adopts this policy to ensure compliance with other District policies,
applicable state and federal law, and to foster an educational environment that is safe and free
from discrimination based on gender identity and gender expression.[11][12][13][14][10][7][8]
[9][15][16][17][18][19][20][6]

Definitions

Authentic Gender Identity – an exclusive commitment to either a male or female gender
identity asserted across multiple settings from the time when a person begins to live as the
gender with which they identify rather than the gender they were assigned at birth.

Biological Sex – refers to a person’s biological status and is typically categorized as male,
female, or intersex (i.e., atypical combinations of features that usually distinguish male from
female). There are a number of indicators of biological sex, including sex chromosomes, gonads,
internal reproductive organs, and external genitalia.

Cisgender – denoting or relating to a person whose self-identity conforms with the gender that
corresponds to their biological sex.

Gender – the state of being male or female which, in the context of this policy, is used with
reference to social and cultural differences rather than biological ones.
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Gender Expansive – a term that conveys a wider, more flexible range of gender identity and/or
expression than typically associated with the binary gender system. Gender expansive is not
synonymous with transgender; not all gender expansive individuals identify as transgender.

Gender Identity – a person’s deeply held internal sense or psychological knowledge of their
own gender, regardless of the biological sex they were assigned at birth.

Gender Expression – the ways a person expresses gender, in ways such as dress, grooming,
hairstyle, behavior, activities, interests, speech, mannerisms, etc.

Intersex – a term used for a person who is born with a reproductive or sexual anatomy and/or
chromosome pattern that does not conform to typical definitions of male or female.

Transgender – a person whose gender identity and/or gender expression is different from that
of the biological sex they were assigned at birth.

Transition – the time when a person begins to live as the gender with which they identify rather
than the gender they were assigned at birth, which often includes changing one’s first name and
dressing and grooming differently. Transitioning may or may not also include medical and legal
aspects, including taking hormones, having surgery, and/or changing identity documents (e.g.,
driver’s license, Social Security record) to reflect one’s gender identity.

Delegation of Responsibility

In an effort to ensure that gender expansive and transgender students are provided with an
equal opportunity to achieve their maximum potential through District programs, and in order to
ensure that gender expansive and transgender students are provided with equal access to all
school programs and activities, the Board authorizes the Superintendent or his/her designee to
develop and promulgate regulations designed to ensure the safety, comfort, and healthy
development of gender expansive and transgender students while maximizing such students’
social integration with other students and minimizing stigmatization and isolation and to
specifically include:
   1. Gender Support Plan – a plan to create shared understanding about the ways in which the
      student’s authentic gender will be accounted for and supported at school (See Attached
      Gender Support Plan).

   2. Gender Transition Plan – a plan to support the necessary planning for a student’s formal
     transition of gender (See Gender Transition Plan).

   3. Complaint Procedure – the procedure which delineates the process for addressing
    complaints under this policy. Unless otherwise indicated, complaints under this policy shall
    follow the complaint procedure set forth in Policy 103 with the appropriate building principal
    or Superintendent's designee serving as the Compliance Officer.[21]
Guidelines

The goal in all cases is to strive for consensus between parents/guardians and student as to the
application of this policy. However, in general, the prerogative to assert the rights of the
transgender and gender expansive student belongs to the student and does not require
additional parental/guardian consent unless the assertion of a right delineated in these guidelines
implicates parental/guardian rights under the Family Educational Rights and Privacy Act (FERPA)
or other applicable law.

Privacy/Confidential Health or Educational Information –

All persons, including students, have a right to privacy, which includes the right to keep private
one’s gender expansive or transgender status presentation at school.
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Information about a student’s gender expansive or transgender status, legal name, or gender
assigned at birth may constitute confidential medical or educational information. Disclosing such
information to other students, their parents, or other third parties may violate privacy laws such
as the federal FERPA. Therefore, school personnel should not disclose information that may
reveal a student’s gender expansive or transgender status presentation to others, including the
student’s parents/guardians and/or other school personnel, unless legally required to do so or
unless the student has authorized such disclosure.

Gender expansive and transgender students have the right to discuss and express their gender
identity and expression openly and to decide when, with whom, and how much to share such
private information.

When contacting the parent or guardian of any student, school personnel should use the
student’s legal name and the pronoun corresponding to the student’s gender assigned at birth
unless the student, parent, or guardian has specified otherwise.

Official Records –

The District is required to maintain a permanent student record which includes the student’s
legal name and gender. The District will change a student's official records to reflect a change in
legal name or gender upon receipt of:
   1. Documentation that the student’s legal name or gender has been changed pursuant to a
      court order or through amendment of state or federally-issued identification; or

   2. A written, signed statement explaining that the student has exercised a common-law name
      change and has changed their name for all intents and purposes and that the change has
      not been made for fraudulent reasons (See Name Change Form).
To the extent that the District is not legally required to use a student's legal name and biological
sex on school records or documents, the District should use the name and gender by which the
student consistently identifies. In situations where school employees are required by law to use
or report a student's legal name or gender, such as for standardized testing, school staff should
adopt practices to avoid the inadvertent disclosure of the student’s gender expansive or
transgender status.

Names and Pronouns –

Students have the right to be addressed by the name and pronoun that corresponds to their
authentic gender identity. A court-ordered name or gender change is not required, and the
student need not otherwise change his/her official records in order to be addressed by the name
and pronoun that corresponds to the student’s authentic gender identity.

Appropriate school employees will privately ask known gender expansive or transgender students
how they would like to be addressed in class, in correspondence to the student’s home, and at
conferences with the student’s parent/guardian. That information will be included in the
electronic student record system along with the student’s legal name in order to inform teachers
and staff of the name and pronoun by which to address the student. When appropriate or
necessary, this information will be communicated directly with staff to facilitate the use of proper
names and pronouns. Sample pronouns may include:

    Type             Subject         Object    Possessive        Possessive            Reflexive
                                               Adjective         Pronoun               Pronoun

Feminine     She               Her             Her               Hers             Herself

Masculine    He                Him             His               His              Himself
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Gender        They            Them             Their            Theirs           Theirself
Neutral

Gender        Ze              Hir              Hir              Hirs             Hirself
Neutral       (pronounced     (pronounced      (pronounced      (pronounced      (pronounced
              zee)            hear)            hear)            hears)           hearself)

Gender        Ey (pronounced Em                Eir              Eirs             Emself
Neutral       ee)            (pronounced       (pronounced      (pronounced      (pronounced
                             em)               air)             airs)            emself)


When communicating with known gender expansive or transgender students regarding particular
issues such as conduct, discipline, grades, attendance or health, school employees will focus on
the conduct or particular issues rather than making assumptions regarding the student’s actual
or perceived gender identity.

When communicating with parent(s)/guardian(s) of gender expansive or transgender students,
school employees will refrain from the use of gender pronouns and refer to the student by name
whenever practicable.

The District does not condone the intentional and/or persistent refusal to respect a student’s
authentic gender identity, or the inappropriate release of information regarding a student’s
gender expansive or transgender status. Such conduct shall be a violation of this Board Policy.

Facility Accessibility –

Students shall be allowed to use the restroom that corresponds to the gender identity they
consistently assert at school. No student will be required to use a restroom that conflicts with
their authentic gender identity.

Any student, whether or not they are gender expansive or transgender, who needs or desires
increased privacy when utilizing a restroom shall, upon request, be provided with access to a
single stall or otherwise private restroom, but no student shall be required to use such a
restroom.

The use of locker rooms by gender expansive or transgender students shall be reviewed and
addressed on a case-by-case basis, but permitted in a way that, to the extent possible,
maximizes a gender expansive or transgender student’s social integration, provides an equal
opportunity to participate in physical education classes and athletic opportunities, minimizes
stigmatization of the gender expansive or transgender student, and ensures student safety.
Notwithstanding the foregoing, no student will be required to use a locker room that conflicts
with his/her authentic gender identity.

The District will provide a gender expansive or transgender student with access to the locker
room that corresponds to the gender identity consistently asserted at school. Any student,
whether or not they are gender expansive or transgender, who needs or desires increased
privacy when utilizing a locker room shall, upon request, be provided with access to reasonable
alternative locker room conditions which could include, but are not limited to (1) use of a private
area (e.g., nearby restroom stall with a door, an office in the locker room, or a nearby health
office restroom) or (2) a separate changing schedule (i.e., utilizing the locker room before or
after the other students).[22]

Sport and Physical Education Classes –
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Gender expansive or transgender students shall be permitted to participate in athletic
programs/opportunities and physical education classes in a manner that is consistent with their
authentic gender identity.

A student may seek review of his/her eligibility for participation in interscholastic athletics by
working through the Pennsylvania Interscholastic Activities Association (PIAA).

Dress Code –

All students shall have the right to dress in a manner consistent with their gender identity or
gender expression to the extent that such dress does not conflict with school rules or other Board
policies or administrative regulations.

Other School Activities –

In any school activity or other circumstance involving separation by gender (i.e., class
discussions, field trips), students will be permitted to participate in accordance with the gender
identity they consistently assert at school. Teachers and other school employees will make
reasonable efforts to separate students based on factors other than gender where feasible and
appropriate.

For overnight field trips, the gender expansive or transgender student should communicate their
preferred sleeping arrangement to the teacher and/or school administrator responsible for
planning the field trip when the trip is being planned, or at least a month prior to the date of the
field trip. As with any other student, the school should try to pair the gender expansive or
transgender student with peers with whom the student feels comfortable. In some cases, a
gender expansive or transgender student may want a room with fewer roommates or another
alternative suggested by the student or their parent(s)/guardian(s). The District should honor
these requests whenever possible and make adjustments to prevent the student from being
marginalized because of those alternative arrangements. Regardless of whether those
roommates know about the student’s gender identity, the District has an obligation to maintain
the student’s privacy and cannot disclose or require disclosure of the student’s transgender
status to the other students or their parents/guardians.

Discrimination/Harassment –

Incidents or complaints of alleged discrimination, harassment, or violence against a gender
expansive or transgender student, including complaints against District employees, shall be given
prompt in the same manner as other discrimination/harassment complaints. As with other
District policies, District employees will be subject to discipline for violating this policy.

Education and Training –

The District will conduct staff training and ongoing professional development in an effort to build
the skills of all staff members to prevent, identify and respond to harassment and discrimination.
In order to further a safe and supportive school environment for all students, the District will
incorporate education and training about gender expansive and transgender students into its
anti-bullying curriculum, student leadership trainings and staff professional development. The
content of such professional development/training should include, but not be limited to:
   1. Terms and concepts related to gender identity, gender expression, and gender diversity in
      children and adolescents;

   2. Appropriate strategies for communicating with students and parents about issues related to
     gender identity and gender expression, while protecting student privacy;

   3. Strategies for preventing and intervening in incidents of harassment and discrimination,
     including cyber-bullying;
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   4. Classroom management practices, curriculum, and resources that educators can integrate
        into their classrooms to help foster a more gender-inclusive environment for all
        students; and,

   5. District and staff responsibilities under applicable laws and District policies regarding
        harassment, discrimination, and gender identity and expression issues.

Legal                    1. Pol. 103.1

                         2. Pol. 218

                         3. Pol. 247
                         4. Pol. 249

                         5. Pol. 102
                         6. U.S. Const. Amend. XIV, Equal Protection Clause

                         7. 22 PA Code 12.1
                         8. 22 PA Code 12.4

                         9. 22 PA Code 15.1 et seq
                         10. 22 PA Code 4.4

                         11. 24 P.S. 1301-A

                         12. 24 P.S. 1310
                         13. 24 P.S. 1601-C et seq

                         14. 24 P.S. 5004
                         15. 20 U.S.C. 1681 et seq

                         16. 29 U.S.C. 794
                         17. 42 U.S.C. 12101 et seq

                         18. 42 U.S.C. 1981 et seq

                         19. 42 U.S.C. 2000d et seq
                         20. 43 P.S. 951 et seq

                         21. Pol. 103
                         22. Pol. 701


        Gender Support Plan.pdf (137 KB)          Gender Transition Plan.pdf (132 KB)


        Name Change Form - transgender students.pdf (53 KB)
